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                                      November 11, 2022

VIA ECF
Honorable Sean H. Lane
United States Bankruptcy Court
300 Quarropas Street
White Plains, New York 10706                                                         Lori Schwartz
                                                                                    (212) 603-6334
                                                                       lschwartz@leechtishman.com


       Re:     85 Flatbush RHO Mezz LLC, 85 Flatbush RHO Hotel, LLC and 85 Flatbush
               RHO Residential LLC, (“Debtors”)
               Chapter 11 Bankruptcy Case No. 20-23280 (SHL)

Dear Judge Lane:

         We write on behalf of the Debtors, 85 Flatbush RHO Mezz, LLC, 85 Flatbush RHO
Hotel, LLC and 85 Flatbush RHO Residential LLC, in response to the November 10, 2022 letter
from counsel to TH Holdco, LLC in connection with November 9, 2022 closing on the credit bid
in this bankruptcy case.

        In accordance with the Order Resolving TH Holdco’s Motion to Enforce Debtors’
Obligation to Cooperate with Closing of Credit Bid (ECF Doc. No. 336), Debtors are required to
provide certain materials and records to TH Holdco no later than November 16, 2022. TH
Holdco’s letter details many of these categories and Debtors are gathering these post-closing
items and arranging for their delivery on or before the November 16, 2022 deadline. 1

       Copies of the DIP bank statements for August, September were provided to TH Holdco’s
counsel on October 19, 2022; DIP bank statements for October 2022 were provided to TH
Holdco on November 3, 2022 and the bank activity for November 1-8, 2022 was provided to TH
Holdco on November 9, 2022, before the closing.

       Regarding the issues that were brought to the Debtors and the Court’s attention on
November 9, 2022 with respect to unauthorized occupants at the residential portion of the
premises, we attach the declaration of Brian Dulitz, who is an asset manager employed by the

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 The deliverables include the August and September 2022 monthly operating reports which are
being filed today on the ECF docket.
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Debtors’ manager, GC Realty Advisors LLC. Mr. Dulitz was at the premises on November 9,
2022 at the Debtors’ direction and was present along with a representative of TH Holdco, when
the New York Police Department walked through the property to remove any unauthorized
individuals from the residences. According to Mr. Dulitz, approximately 7 units at the
residences have unauthorized occupants who refused to vacate the units. Debtors are prepared to
assist TH Holdco in the removal of any unauthorized individuals, but as they no longer hold title
to the property, they have no legal standing to do so.

        As for the assertions that Sam Rubin, an investor in the Debtors, is the person who gave
unauthorized individuals access to and authority to be on the premises, as counsel to the Debtors,
we have no comment regarding these assertions; we have communicated with Mr. Rubin and all
of the Debtors’ representatives as to their continuing obligation to comply with the Court’s
orders regarding the closing on TH Holdco’s credit bid sale. That said, Leech Tishman does not
represent any party other than the Debtors and, as previously noted on the record, neither this
firm nor the Debtors’ representative, David Goldwasser, had knowledge of any express
agreements or otherwise for anyone to be at the residential portion of the property other than the
two month to month tenants in units 8A and 11F.2

        Debtors are prepared to attend any status conference scheduled by the Court and
respectfully request any such conference be scheduled for a date after the November 16, 2022
deadline to provide various post-closing deliverables to TH Holdco.


                                                     Respectfully submitted,

                                                     /s/ Lori A. Schwartz
                                                     Lori A. Schwartz
cc:      Robert Richards, Esq.
         Lauren Macksoud, Esq.
         Sarah M. Schrag, Esq.
         (via ECF)




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    The leases for these units were previously provided to TH Holdco.
